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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )                     4:09CR3090
                       Plaintiff,               )
                                                )
               v.                               )          MEMORANDUM AND ORDER
                                                )              NUNC PRO TUNC
KEVIN JARZELL MOORE,                            )
                                                )
                       Defendants.              )

        This memorandum and order is filed to correct only the caption, and not the content of the
court’s prior order Alan Stoler’s motion to withdraw, (filing no. 57). The following order remains
in effect:


        Defendant Kevin Jarzell Moore’s appointed counsel, Alan G. Stoler, has moved for leave
to withdraw due to a conflict of interest. (Filing No. 57). Accordingly,


        IT IS ORDERED:

        1)     The motion to withdraw filed by Alan G. Stoler, (filing no. 57), is granted. Mr.
               Stoler shall promptly serve defendant with a copy of this order. The Clerk is directed
               to remove Mr. Stoler from all future ECF notifications in this case.

        2)     The Federal Public Defender shall forthwith provide the court with a draft
               appointment order (CJA Form 20) bearing the name and other identifying
               information of a CJA Panel attorney identified to represent the defendant herein in
               accordance with the Criminal Justice Act Plan for this district.

        3)     Upon appointment, new defense counsel shall promptly enter his or her appearance.

               DATED this 17th day of February, 2010.

                                               BY THE COURT:

                                               s/ Cheryl R. Zwart
                                               Cheryl R. Zwart
                                               United States Magistrate Judge
